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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

SECURITIES AND EXCHANGE                       No: 3:18-cv-252
COMMISSION,
                                              Carlton W. Reeves, District Judge
           Plaintiffs,

     v.

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

           Defendants.




                    RECEIVER’S FOURTH FEE APPLICATION
      for the time period beginning December 1, 2018 and ending January 31, 2019

                                  February 28, 2019




                                               /s/ Alysson Mills
                                       Alysson Mills, Miss. Bar No. 102861
                                       Fishman Haygood, LLP
                                       201 St. Charles Avenue, Suite 4600
                                       New Orleans, Louisiana 70170
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                                       Receiver for Arthur Lamar Adams and
                                       Madison Timber Properties, LLC
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Introduction

           For many years Arthur Lamar Adams, through his companies Madison Timber Company,
LLC and Madison Timber Properties, LLC, operated a Ponzi scheme that defrauded hundreds of
investors. On May 9, 2018, Adams pleaded guilty to the federal crime of wire fraud. On October
30, 2018, he was sentenced to 19.5 years in prison.

           On June 22, 2018, the Court appointed me Receiver of the estates of Adams and Madison
Timber. The order of appointment sets forth my responsibilities and duties and provides that I
shall receive reasonable compensation and reimbursement from the Receivership Estate.1 The
Court has instructed me to file a fee application “[w]ithin 30 days after the end of every 60-day
period while the Receivership is in effect.”2

           This is my fourth fee application, for the approximately 60-day period beginning
December 1, 2018 and ending January 31, 2019. It contains the following parts:

                                                                                  page
                            Receivership fee applications, generally                3
                            Pre-established billing parameters                      4
                            Receivership Estate’s fees and expenses                 5
                            Conclusion                                              6
                            Receiver’s declaration                                  7


           The Securities and Exchange Commission has reviewed and approved this fee
application.




1
    Doc. 33, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
2
    Doc. 43 at p. 2, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).


                                                                                                          2
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Receivership fee applications, generally

         A receiver’s duties “are unique to the facts and circumstances of each case.”3 It follows
that a receiver’s fees and expenses vary with the facts and circumstances of each case. The
appointing court has broad discretion to determine the reasonableness of a receiver’s fees and
expenses.4

         As before, in the course of preparing this fee application, I reviewed fee applications
submitted by receivers in other Ponzi scheme cases, including Securities and Exchange
Commission v. Stanford International Bank, Ltd., et al., No. 09-cv-0298 (N.D. Tex.)
(“Stanford”); U.S. Commodity Futures Trading Commission v. Trevor Cook, et al., No. 09-cv-
3332 (D. Minn.) (“Cook/Kiley”); and Securities and Exchange Commission v. John Scott Clark
et al., No. 1:11-cv-46 (D. Utah) (“Clark”).

         Fee applications vary in format but provide the same basic content: a summary of work
to-date, a statement of hours expended by professionals, a calculation of professional fees based
on applicable hourly rates, a statement of expenses incurred in the ordinary course of business,
and a declaration that all fees and expenses are accurate and reasonable. I provide the same basic
content here.

         Although fee applications are filed in the court’s public record, the underlying records of
each professional’s time typically are not. This is because such records necessarily include
confidential information (such as victims’ names) and information subject to attorney-client or
other privileges. To publish such information in the court’s public record also would risk
disclosing the receiver’s legal strategies to defendants. For these reasons, I provide underlying
records of each professional’s time only to the Court.

         This, my fourth fee application, is for the approximately 60-day period beginning
December 1, 2018 and ending January 31, 2019. As before, I offer the following context:




3
 7 Bus. & Com. Litig. Fed. Cts. § 79:48 (4th ed.).
4
 “It is well settled that such allowances are largely within the discretion of the district court ….” Commodity Credit
Corp. v. Bell, 107 F.2d 1001, 1001 (5th Cir. 1939).


                                                                                                                    3
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        The Stanford receiver’s fourth fee application, filed in 2009, asked for a total of $935,938
in fees for 30 days of work—not counting non-legal consulting fees.5 That fee application was
granted with a 35% holdback. Of course, at $7.2 billion, the Stanford Ponzi scheme was
considerably bigger than the Ponzi scheme in this case.

        The Cook/Kiley Ponzi scheme, at $190 million, is closer in size. The Cook/Kiley
receiver’s seventh and eighth monthly fee applications, for April 2010 and May 2010, together
asked for $332,909 in fees for 61 days of work—also not counting non-legal consulting fees.6
Those fee applications were paid in full.

        The Clark Ponzi scheme, at $47 million, was considerably smaller than the Ponzi scheme
in this case. The Clark receiver’s fourth fee application, filed in 2012, asked for a total of
$379,252 in fees for 91 days of work.7 That fee application was paid in full.


Pre-established billing parameters

        The Court’s order of appointment provides that I shall bill at $275 an hour, and that my
counsel shall bill at rates not to exceed $275 an hour, with the exception of Brent Barriere, who
shall bill at $325 an hour.8

        The Court’s order of appointment authorizes me to incur expenses and make payments as
in the ordinary course of business of the Receivership Estate9 and, separately, to employ persons
to assist me in carrying out my duties as Receiver.10

        Any compensation or reimbursement “will be interim and will be subject to cost-benefit
and final reviews at the close of the receivership.”11 Any fee application may, in the Court’s
discretion, be subject to a holdback in the amount of 25%.12


5
  Doc. 914, Securities and Exchange Commission v. Stanford International Bank, Ltd., et al., No. 09-cv-0298 (N.D.
Tex.).
6
  Docs. 306 and 331, U.S. Commodity Futures Trading Commission v. Trevor Cook, et al., No. 09-cv-3332 (D.
Minn.).
7
  Doc. 174, Securities and Exchange Commission v. John Scott Clark et al., No. 1:11-cv-46 (D. Utah).
8
  Doc. 33 at p. 4, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
9
  Doc. 33 at p. 7-8, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
10
   Doc. 33 at p. 8, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).


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Receivership Estate’s fees and expenses

         Fees

         The Receivership Estate’s fees, including Receiver’s fees and Receiver’s counsel’s fees,
for the approximately 60-day period beginning December 1, 2018 and ending January 31, 2019
are:

                                                           Rate       Hours                  Total
       Receiver’s fees
       Alysson Mills                                      $275       121.50           $33,412.50

       Receiver’s counsel’s fees
       Fishman Haygood, LLP                              *$325       136.70           $44,427.50
       Brent Barriere* et al.                             $275        59.30           $16,307.50
                                                          $220        73.40           $16,148.00
                                                          $150        23.00            $3,450.00
       Brown Bass & Jeter, PLLC                           $275        34.90           $9,597.50
       Lilli Bass et al.                                  $135         0.00               $0.00
                                                                                    $123,343.00


         These fees are for work described in my fourth Receiver’s Report, filed on February 19,
2019.13 To summarize, during the approximately 60-day period beginning December 1, 2018 and
ending January 31, 2019, my colleagues and I: filed a lawsuit against Butler Snow LLP; Butler
Snow Advisory Services, LLC; Matt Thornton; Baker, Donelson, Bearman, Caldwell &
Berkowitz, PC; Alexander Seawright, LLC; Brent Alexander; and Jon Seawright, see Alysson
Mills v. Butler Snow, et al., No. 3:18-cv-866; prosecuted the motion for contempt I filed against
Alexander Seawright Timber Fund I, LLC, Brent Alexander, and Jon Seawright following their
pursuit and settlement of claims against UPS in violation of this Court’s stay of litigation;
opposed a motion filed by Jeanne Lehan and Pamela Lehan, representatives of an LLC that
invested in Madison Timber, for a declaration that the Court’s stay of litigation did not apply to
their lawsuit against Pinnacle Trust; finalized a settlement with Wayne Kelly, negotiated with

11
   Doc. 33 at p. 14, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
12
   Doc. 33 at p. 14-15, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
13
   Doc. 93, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).


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Mike Billings, and prosecuted a motion for summary judgment against Bill McHenry, see
Alysson Mills vs. Michael D. Billings, et al., No. 3:18-cv-679; announced a settlement with the
Ole Miss Athletic Foundation by which it will return an additional $310,169 to the Receivership
Estate that, with the $39,667 it previously returned for unused 2018 and 2019 baseball tickets,
represents $349,836 of the $402,100 that Adams gave to the Foundation in the past ten years;
announced a marital property settlement agreement resolving Vickie Lynn Adams’s interest in
certain receivership property that constitutes marital assets under the laws of the State of
Mississippi; negotiated with Adams’s children the return of cash gifts by Adams to them;
continued to account for “commissions”; continued to request and review records of banks, law
firms, and other third parties that had professional relationships with Adams or Madison Timber;
continued to work with LLCs of which Adams was a member, including KAPA Breeze, LLC,
for which I negotiated the sale of the Receivership Estate’s 50% interest, and Oxford Springs,
LLC, for which I negotiated the sale of the LLC’s principal asset, 2,300+/- acres undeveloped
land in Lafayette County, Mississippi; continued to confer with the U.S. Attorney’s Office for
the Southern District of Mississippi, the FBI, the Securities and Exchange Commission, and the
Mississippi Secretary of State’s Office; continued to communicate with investors in Madison
Timber via phone, letter, email, and in-person meetings; issued to investors 1099s for Madison
Timber Properties, LLC for 2018; continued to interview individuals with first-hand knowledge
of matters bearing on the Receivership Estate; continued to meet with counsel for third parties
that had professional relationships with Adams or Madison Timber; and continued to research
legal claims against third parties as new facts are discovered. Time records for the approximately
60-day period beginning December 1, 2018 and ending January 31, 2019 shall be separately
provided to the Court for in camera review.

       Of the hours recorded, 72.4 hours, or $20,014.50, were spent on the lawsuit Alysson Mills
vs. Michael D. Billings, et al., No. 3:18-cv-679. Including hours previously recorded, my
colleagues and I have spent a total of 551.1 hours on the lawsuit since it was filed, at a total
expense of $141,192.50. This time and expense have proved a good investment, given that we
have already obtained a settlement from one defendant worth approximately $2,000,000 to the
Receivership Estate.




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       Of the hours recorded but not billed, 290.2 hours were spent on the lawsuit Alysson Mills
v. Butler Snow, et al., No. 3:18-cv-866. In the interest of preserving the Receivership Estate’s
limited resources, my primary counsel, Brent Barriere and Fishman Haygood, LLP, agreed to
represent the Receivership Estate in certain third-party litigation, including in Alysson Mills v.
Butler Snow, et al., No. 3:18-cv-866, on a contingency fee, or success-based, arrangement. Of
course any fee arrangement is subject to the continuing oversight of the Court—and any fees
paid by the Receivership Estate, whether on an hourly basis or as a contingency fee, are subject
to the Court’s review and approval at an appropriate time. For this litigation, Fishman Haygood,
LLP is advancing all costs and out-of-pocket expenses.

       My colleagues and I are sensitive to the Receivership Estate’s limited resources and we
hope our fees reflect that. We have not charged for work that we believe was duplicative. We
have not charged for travel. Our agreed-upon rates generally are lower than market rates.


       Expenses

       The Receivership Estate’s expenses for the approximately 60-day period beginning
December 1, 2018 and ending January 31, 2019 are:

                      Copier charges                               $239.11
                      Printer charges                              $390.50
                      Express mail services                         $55.35
                      Long distance calls                          $956.39
                      Court fees, summons, service                 $594.00
                      Westlaw research                           $2,902.13
                      Court reporter (deposition)                  $496.25
                      Appraisal fee                              $2,800.00
                                                                 $7,477.34


       Most of these expenses are self-explanatory and are the kinds of expenses typically
incurred in any legal matter. I have not charged for long distance calls or travel. The appraisal
fee is for an appraisal I requested of property owned by one of Adams’s LLCs.




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Conclusion

       Currently the Receivership Estate has $3,787,412.50 in the bank—still a healthy sum at
this point but far from enough to make a meaningful distribution.

       As I have stated, the Receivership Estate’s most valuable assets are the lawsuits it has
filed and intends to file. I anticipate that the next few months will require substantial work by
counsel, and possibly experts, as we litigate against third parties. As always I will monitor all
work for inefficiencies and unnecessary expense.

       In the meantime, I continue to believe our team is providing very good value for cost—
particularly when viewed in the context of other receiverships, which at this point cost many
multiples more per day.




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